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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Civil Action No.____________________


  LEHMAN BROTHERS HOLDINGS INC,


                  Plaintiff,

  v.

  UNIVERSAL AMERICAN MORTGAGE
  COMPANY, LLC,

                  Defendant.



                                           COMPLAINT


           Plaintiff, Lehman Brothers Holdings Inc. (“LBHI”),1 by and through its undersigned

  attorneys, and for causes of action against Defendant Universal American Mortgage Company,

  LLC (“Universal”), alleges as follows:




  1
   Plaintiff Lehman Brothers Holdings Inc. (“LBHI”) commenced a voluntary case under chapter
  11 of title 11 of the United States Code (the “Bankruptcy Code”), on September 15, 2008, in the
  United States Bankruptcy Court of the Southern District of New York (the “Bankruptcy Court”).
  On December 6, 2011, the Bankruptcy Court entered an order confirming LBHI’s Modified
  Third Amended Chapter 11 Plan. LBHI’s chapter 11 plan became effective on March 6, 2012,
  and LBHI is authorized to operate its business and manage its property as a debtor in possession
  pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

  In August 2009, the Bankruptcy Court authorized LBHI to pursue claims with respect to the
  origination and purchase of residential mortgage loans. LBHI is pursuing that exact type of
  claim here and prosecuting this case to preserve the value of its assets for the benefit of its
  creditors.


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                                     I. NATURE OF ACTION

           1.    At all times relevant hereto, Lehman Brothers Bank, FSB (“LBB,” and

  collectively with LBHI, “Lehman”) purchased mortgage loans from Universal pursuant to a

  series of written contracts. LBB subsequently assigned its rights under those contracts to LBHI.

  With respect to certain of these mortgage loans, Universal breached provisions of the contracts

  that required it to repurchase from, or indemnify Lehman for mortgage loans which failed to

  comply with the parties’ contracts. By this action, LBHI seeks to recover money damages for

  injuries that have been sustained as a result of Universal’s failure or refusal to honor its

  obligation to repurchase loans and/or indemnify Lehman for its incurred losses.

           2.    The claim presented in this Complaint was originally Count VIII of LBHI’s 8-

  count complaint in Case No. 11-20859-CIV-KING, filed in the Southern District of Florida.

  Pursuant to a ruling by the District Judge at the pretrial conference on January 4, 2013, and a

  subsequent Order entered on January 9, 2013, this claim was dismissed without prejudice to be

  re-filed as a separate cause of action, because the District Judge was of the opinion that each loan

  must be filed separately, rather than joined within one action.

                                            II. PARTIES

           3.    Plaintiff LBHI is a Delaware corporation with its principal place of business in

  New York, New York.

           4.    Defendant Universal is a Florida limited liability company with its principal place

  of business at 700 N.W. 107th Avenue, Suite 400, Miami, Florida.




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                                III. JURISDICTION AND VENUE

           5.    This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because there is

  complete diversity of citizenship between Plaintiff LBHI and Defendant Universal, and the

  amount in controversy exceeds $75,000, exclusive of interest and costs.

           6.    Personal jurisdiction comports with due process under the United States

  Constitution and the long-arm statutes of Colorado because Universal has been registered to do

  business in Colorado since 2002 and has maintained an agent in the state for the last ten years.

           7.    Universal has purposefully availed itself of the benefit of doing business—both

  with and without Lehman—in Colorado. On information and belief, Universal’s business in

  Colorado includes, but is not limited to, mortgage lending operations.

           8.    In 2004, Universal entered into a business relationship with the Lehman entities

  pursuant to which Universal would sell residential mortgage loans to Lehman. That relationship

  was overseen by Aurora Loan Services, LLC (“Aurora”), a Lehman subsidiary then based in

  Littleton, Colorado.

           9.    Universal has had continuous and systematic communication with Lehman

  entities in Colorado, including with respect to the loans and related transactions at issue in this

  case. This includes: (1) recertification of their ability to originate loans; (2) securing delegated

  underwriting authority, which affected Universal’s ability to approve mortgage loans to sell to

  Lehman with less oversight from Lehman; and (3) responding to repurchase demands issued by

  Lehman or its agent from Colorado.

           10.   Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial

  part of the events that give rise to the claims occurred in this District and because the division of




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  LBHI that oversees its residential mortgage loss recovery program is based in Greenwood

  Village, Colorado, and thus its witnesses and documents are located here.

                                 IV. FACTUAL ALLEGATIONS

           11.   At all relevant times, Lehman engaged in the purchase and sale of mortgage

  loans.

           12.   Universal engages in mortgage lending, as well as the sale of mortgage loans on

  the secondary market to investors such as Lehman.

           13.   Universal entered into a written Loan Purchase Agreement (Servicing Released

  Transactions) dated September 20, 2005 with LBB and thereafter amended the Agreement by

  Addendum dated October 1, 2006 (together the “Agreement”). A true and correct copy of the

  Agreement is attached hereto as Exhibit 1.

           14.   The Agreement specifically incorporates the terms and conditions of the Seller's

  Guide of Lehman's agent, Aurora Loan Services LLC, which sets forth additional duties and

  obligations of Universal.

           15.   The Seller's Guide in its entirety is valid and binding upon Universal. Attached

  hereto as Exhibit 2 are the specific Sections of the Seller’s Guide most directly pertinent to the

  claims in this Complaint.

           16.   The Agreement and the Seller’s Guide set forth the duties and obligations of the

  parties with respect to the purchase and sale of mortgage loans, including but not limited to

  purchase price, delivery and conveyance of the mortgage loans and mortgage loan documents,

  examination of mortgage loan files and underwriting, representations and warranties concerning

  the parties and individual mortgage loans purchased or sold, and remedies for breach.




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           17.    With respect to each of the loans sold to Lehman under the Agreement and

  Seller’s Guide, Universal made a number of representations, warranties, and covenants

  concerning the mortgage loans including but not limited to the following:

           (a)    the validity of all mortgage loan documentation;

           (b)    the accuracy and integrity of all information and documentation regarding

           borrower identity, income, employment, credit, assets, and liabilities used in making the

           decision to originate the mortgage loans;

           (c)    occupancy by the borrower of the property securing the mortgage loan;

           (d)    the ownership, nature, condition, and value of the real property securing the

           respective mortgage loans; and

           (e)    the conformance of the mortgage loans with applicable underwriting guidelines

           and loan program requirements.

           18.    Universal also represented and/or warranted that no error, omission,

  misrepresentation, negligence, fraud, or similar occurrence took place with respect to the

  mortgage loans by any person involved in the origination of the mortgage loans, and that no

  predatory or deceptive lending practices were used in the origination of the mortgage loans.

           19.    Universal further represented and/or warranted that it had the ability to perform its

  obligations under, and satisfy all requirements of, the Loan Purchase Agreement and Seller’s

  Guide.

           20.    Moreover, Universal agreed to repurchase any loan that was subject to an Early

  Payment Default, as defined below.

           21.    Universal sold mortgage loans to LBB pursuant to the terms of the Agreement

  and Seller's Guide, including Loan ****1878 (Watermann).




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           22.    LBB purchased Loan ****1878 from Universal.

           23.    LBB purchased Loan ****1878 in reliance upon the representations, warranties,

  and covenants contained within the Agreement and Seller's Guide, as set forth in Section 701 of

  the Seller’s Guide, which provides:

           Seller acknowledges that Mortgage Loans are purchased in reliance upon: (i) the
           truth and accuracy of Seller’s representations and warranties set forth in the Loan
           Purchase Agreement and this Seller's Guide, each of which representations and
           warranties relates to a matter material to such purchase; and (ii) Seller’s
           compliance with each of the agreements, requirements, terms, covenants and
           conditions set forth in the Loan Purchase Agreement and this Seller's Guide.

           24.    Subsequent to the sale of Loan ****1878 by Universal to LBB, LBB sold Loan

  ****1878 to LBHI.

           25.    Subsequent or simultaneously with the sale by LBB to LBHI, LBB assigned to

  LBHI all of its rights and remedies under the Agreement and Seller's Guide pertaining to Loan

  ****1878.

                                        Early Payment Default

           26.    The Agreement and Seller’s Guide Sections 710 and 715 specify that LBHI or its

  agent may demand that Universal repurchase, and that Universal shall repurchase, any mortgage

  loan that suffers an Early Payment Default.

           27.    Universal acknowledged and agreed a loan may suffer from an Early Payment

  Default in one of two ways, as set forth in Seller's Guide Section 715:

                 For Mortgage Loans prior-approved by Purchaser (i.e. as to which
                 Purchaser underwrote the loan prior to Purchase), a mortgage loan has an
                 early payment default if the first monthly payment due Purchaser is not
                 made within thirty (30) days of its due date.

                 For Mortgage Loans delivered pursuant to the Seller's Delegated
                 Underwriting Authority, a Mortgage Loan has an early payment default if
                 either the first or second monthly payment due the Purchaser is not made
                 within 30 days of each such monthly payment's respective due date.


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           28.     Universal further represented and warranted that in the event of a breach of any

  representation, warranty, or covenant contained in the Agreement or Seller's Guide, or in the

  event that any loan sold by Universal to Lehman suffers an Early Payment Default, Universal

  would repurchase the subject loan, as set forth in Seller's Guide Section 710:

                 …if a loan becomes an Early Payment Default in accordance with Section 715
                 herein, Seller shall, at Purchaser's option, repurchase the related Mortgage
                 Loan… at the Repurchase Price. Any such repurchase shall occur no later
                 than thirty (30) days after the earlier of the date on which Purchaser notifies
                 Seller of such breach or the date on which Seller knows of such breach.

           29.     Universal further promised to indemnify Lehman for any and all losses that in any

  way relate to or result from any act or failure to act or any breach of any warranty, obligation,

  representation, or covenant contained in the Agreement and Seller's Guide, as set forth in Section

  711 of the Seller’s Guide:

            In addition to any repurchase and cure obligations of Seller, and any and all other
           remedies available to Purchaser under this Seller's Guide and the Loan Purchase
           Agreement, Seller shall indemnify Purchaser…from and hold them harmless
           against all claims, losses, damages, penalties, fines, claims, forfeitures, lawsuits,
           court costs, reasonable attorney's fees, judgments and any other costs, fees and
           expenses that the Purchaser may sustain in any way related to or resulting from
           any act or failure to act or any breach of any warranty, obligation, representation
           or covenant contained in or made pursuant to this Seller's Guide or the Loan
           Purchase Agreement.

           30.     Universal also agreed to pay the reasonable attorney's fees incurred by LBHI in

  enforcing Universal's obligations, as set forth in Section 711 of the Seller’s Guide:

           In addition to any and all other obligations of Seller hereunder, Seller agrees that
           it shall pay the reasonable attorney's fees of Purchaser incurred in enforcing
           Seller's obligations hereunder, including, without limitation, the repurchase
           obligation set forth above.

           31.     Universal had been granted delegated underwriting authority by letter dated

  October 7, 2005.




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           32.   Pursuant to Section 715 of the Seller’s Guide, and as set forth above, for loans

  purchased pursuant to the Seller’s delegated underwriting authority, or eligible for delegated

  underwriting, the loan suffers an Early Payment Default if the borrower fails to make the first or

  second monthly payment due within 30 days of each such monthly payment’s respective due

  date.

           33.   The first payment on Loan ****1878 was due from the borrower to LBHI’s agent

  on September 1, 2006.

           34.   Loan ****1878 (Watermann) became an Early Payment Default because the

  borrower failed to make the first payment on the loan.

           35.   The borrower of Loan ****1878 also failed to make the second payment due.

           36.   The borrower of Loan ****1878 never made any of the payments due on the

  Loan.

           37.   LBHI, through its agent, first provided Universal with written notice on

  November 10, 2006, that Loan ****1878 became an Early Payment Default, but did not demand

  repurchase at that time.

           38.   LBHI next provided written notice to Universal that Loan ****1878 was an Early

  Payment Default and demanded that Universal indemnify LBHI for its losses when it filed its

  amended legal action (see ¶ 2 above) on June 24, 2012.

           39.   Universal has refused to indemnify LBHI, or to otherwise comply with its

  obligations under the Agreement and Seller’s Guide with respect to the Loan ****1878.

           40.   Universal’s failure and refusal to indemnify LBHI for its losses is a material

  breach of the Agreements and Seller’s Guide.




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                                        V. CLAIM FOR RELIEF

                                         FIRST CLAIM FOR RELIEF
                                            (Breach of Contract)

           41.    LBHI hereby incorporates by reference the allegations set forth above as though

  fully set forth herein.

           42.    The Agreement and the Seller's Guide is a valid and enforceable contract that is

  binding upon Universal.

           43.    Lehman, Lehman's agents and any and all assignees of Lehman's rights have

  substantially performed all of their obligations under the Agreement and Seller's Guide.

           44.    Universal is obligated to indemnify LBHI for its losses incurred for Loan

  ****1878.

           45.    Universal breached the Agreement and Seller's Guide by breaching the

  representations, warranties, and/or covenants including but not limited to those described above

  in Section IV, and by refusing or otherwise failing to indemnify LBHI for its losses on Loan

  ****1878.

           46.    Universal’s breaches of the Agreement and Seller's Guide as to Loan ****1878

  resulted in actual and consequential damages to LBHI in excess of $100,000.00, plus

  prejudgment interest pursuant to New York law, attorneys fees, litigation costs and all other fees

  and costs provided by the Agreement, the exact amount of which to be proven by the evidence.

                                       VI. PRAYER FOR RELIEF

           WHEREFORE, LBHI respectfully requests that this Court enter judgment in its favor and

  against defendant Universal as follows:

                  (a)       For all damages arising from or relating to Universal’s breaches of

                            contract, in an amount to be proven at trial;



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                  (b)   For an Order of this Court declaring that Universal is required to

                        compensate Lehman immediately for all actual and consequential damages

                        resulting from Universal’s breaches of the Representations, Warranty, and

                        Covenant provisions of the Agreement and Seller’s Guide;

                  (c)   For recoverable interest;

                  (d)   For the costs and expenses incurred by LBHI in enforcing Universal’s

                        obligations under the Agreement and Seller’s Guide, including attorneys’

                        fees and costs and any expert witness fees incurred in litigation; and

                  (e)   For such other relief as the Court deems just and proper.


   Dated: January 16, 2013
                                                     Respectfully submitted,

                                                     By:       /s/ Christopher P. Carrington
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